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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS,
                                 EASTERN DIVISION

BP Products North America Inc.,

                  Plaintiff,

       v.                                          Case No. 1:17-cv-03243

Joseph Giljum,                                     Judge Harry D. Leinenweber

                  Defendant.                       Magistrate Judge Mary M. Rowland


                           NOTIFICATION AS TO AFFILIATES

              Pursuant to Federal Rule of Civil Procedure 7.1 and Northern District of Illinois

Local Rule 3.2, BP Products North America Inc. states as follows:

              The immediate parent company of BP Products North America Inc. is The

Standard Oil Company. There is no publically held Company that directly owns 5% or more of

the stock of BP Products North America Inc.
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DATED: May 11, 2017                         Respectfully submitted,

                                            BP PRODUCTS NORTH AMERICA INC.



                                            By: s/ Katherine F. Mendez
                                                One of Its Attorneys

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                                CERTIFICATE OF SERVICE

       The undersigned attorney certifies that she caused a true and correct copy of the

foregoing Notice of Affiliates to be served upon the following:

                              Zachary Jackson
                              Peter Steinmeyer
                              Epstein Becker & Green
                              227 West Monroe Street #3250
                              Chicago, IL 60606

by depositing a copy of same in the U.S. mail located at 233 S. Wacker Drive, Suite 8000,

Chicago, Illinois 60606, on this 11th day of May, 2017.



                                                              ___/s/ Katherine F. Mendez __
                                                                   Katherine F. Mendez




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